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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THEDISTRICT OF COLUMBIA

                                               )
 UNITED STATES OF AMERICA,                     )
                                               ) Criminal No. 1:22-cr-00015-APM
                       v.                      )
                                               )
 KELLY MEGGS,                                  )
                                               )
                  Defendant.                   )
                                               )


                            AMENDED MOTION FOR LEAVE
                            TO WITHDRAW AS CO-COUNSEL


          COMES NOW Attorney Julia Haller, co-counsel for Defendant KELLY MEGGS, to

respectfully amend the earlier motion before this Honorable Court for the entry of an Order

granting leave to withdraw as co-counsel in 22-CR-15-APM. As grounds, the following is

stated:

  1. Undersigned counsel and co-counsel, Stanley Woodward, moved to Substitute as

      Counsel for Mr. Kelly Meggs or about May 16, 2022 in anticipation of his

      upcoming trial and after the sudden unavailability of prior counsel. (ECF 139).

  2. On May 18, 2022, this court issued a Minute Order finding that Defendant KELLY

      MEGGS's (ECF 139) Motion to Substitute Attorney is conditionally granted,

      pending resolution and possible waiver of any conflicts issues. Signed by Judge

      Amit P. Mehta on 5/18/2022.

  3. Undersigned counsel entered an appearance as co-counsel for Mr. Meggs on June 24,

      2022. (ECF 175).

  4. Undersigned counsel and co-counsel, Mr. Woodward continued to represent Mr.


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       Meggs throughout his trial that began with jury selection on or about September 27,

       2022 which continued through October 3, 2022, and trial proceeded through verdict

       on November 29, 2022.

   5. Undersigned counsel and co-counsel continued representation of Mr. Meggs

       through the filing of his Post-Trial motions, to include Mr. Meggs’ filed Reply in

       Support of his Motions on January 24, 2023 (ECF 462 and 463).

   6. At this time, Mr. Meggs’ sentencing is currently scheduled for May 25, 2023, with

       motions to continue filed.

   7. Undersigned counsel is joining a law group as an employee, and needs to close her

       practice. Undersigned counsel will not be able to maintain both her new

       employment and her current law practice.

   8. Mr. Meggs was informed of undersigned counsel’s need to withdraw and wishes to

       remain represented by Mr. Woodward, who is anticipated to remain as Mr. Meggs’

       counsel through sentencing and filing of a Notice of Appeal.

   9. In addition to the conversation undersigned had with Mr. Meggs about withdrawal,

       pursuant to LCrR 44.5 the undersigned certifies that a copy of the Motion was sent by

       email to Mr. Meggs’ son, who is in communication with his father at the prison in

       Lewisburg where Mr. Meggs is detained, and a copy of the motion was sent by mail to

       Lewisburg at 2400 ROBERT F. MILLER DRIVE, LEWISBURG, PA 17837.

It is therefore respectfully requested that the Court grant Undersigned Counsel’s Motion to

withdraw.

[signature next page]




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 Dated: March 30, 2023                     Respectfully submitted,


                                                   /s/ Juli Z. Haller
                                           Juli Z. Haller, (DC 466921)
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                                           S. Building, Suite 900
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                                           HallerJulia@outlook.com

                                           Co-Counsel for Defendant Kelly Meggs


                               Certificate of Electronic Service

       I hereby certify that on March 30, 2023 I electronically filed the foregoing with the Clerk

of Court using the CM/ECF System, with consequent service on all parties of record.


                                                    /s/ Juli Z. Haller
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                                            Co-Counsel for Defendant Kelly Meggs




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